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SOUTHERN DISTRICT OF MISSISSIPPI

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Johnson, et al v. Barbour, et al
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U.S. District Court
Southern District of Mississippi
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TOC ONLY ORDER denying as moot Plaintiffs’ [838] Motion for Entry of Judgment and [843], [870], [883], [901], [907]
Motions for Attorney Fees and Expenses. The parties have informed the Court that these Motions are moot. NO
FURTHER WRITTEN ORDER WILL ISSUE FROM THE COURT. Signed by District Judge Halil S. Ozerden on August
23, 2022. (ENW)

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